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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                      )
JEROME CORSI,                                         )
                                                      )
       Plaintiff,                                     )
                                                      )
v.                                                    )     CASE NO.: 1:18cv2885
                                                      )
ROBERT MUELLER, individually and in his               )
official capacity as Special Counsel, FEDERAL         )
BUREAU OF INVESTIGATION, NATIONAL                     )
SECURITY AGENCY, CENTRAL                              )
INTELLIGENCE AGENCY, and UNITED                       )
STATES DEPARTMENT OF JUSTICE,                         )
                                                      )
       Defendants.                                    )
                                                      )

                    RESPONSE TO PLAINTIFF’S RELATED CASE NOTICE

       Defendants Federal Bureau of Investigation, National Security Agency, Central

Intelligence Agency, United States Department of Justice, and Robert Mueller solely in his official

capacity as Special Counsel (together, “the Government”),1 respectfully submit that Plaintiff has

not demonstrated that the above-captioned matter is a case “related” to Klayman v. Obama, 13-cv-

851, for purposes of the Local Rule 40.5 procedure.

       Local Rule 40.5 is an exception to the general rule that “cases shall be assigned to judges

of this Court selected at random.” Local Civ. R. 40.3(a). Local Rule 40.5 provides that civil cases

are deemed “related” when the earliest case is still “pending on the merits in the District Court,”

and, inter alia, the cases “involve common issues of fact” or “grow out of the same event or



1
 See Kentucky v. Graham, 473 U.S. 159, 166 (1985) (“[A]n official-capacity suit is, in all respects
other than name, to be treated as a suit against the entity” that employs the named defendant.).
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transaction.” Local Civ. R. 40.5(a)(3)(ii)-(iii). Additionally, civil cases “shall be deemed related

where a case is dismissed, with prejudice or without, and a second case is filed involving the same

parties and relating to the same subject matter.” Local. Civ. R. 40.5(a)(4). For purposes of the

Rule, “the court has adopted a strict position that ... ‘the same parties’ means identical parties, not

parties in interest.” Dale v. Exec. Office of President, 121 F. Supp. 2d 35, 37 (D.D.C. 2000)

(quoting Thomas v. Nat’l Football League Players Ass’n, 1992 WL 43121, *1 (D.D.C. 1992)).

       Here, Plaintiff indicated in his notice both that this case was related to a pending case

involving common issues of fact, and that this case was related to a dismissed case involving the

same parties and relating to the same subject matter. See ECF No. 2. That is incorrect. The only

purportedly related case that Plaintiff identified in his notice was Klayman v. Obama, 13-cv-851

(“Klayman I”). See id. In his response to the Court’s December 12, 2018, order to show cause,

Plaintiff suggested that this case was related to Klayman I as well as Klayman v. Obama, 13-cv-

881 (“Klayman II”) and Klayman v. Comey, 17-cv-1074 (“Klayman III” or “Montgomery v.

Comey”). See ECF No. 8 at 1.

       Klayman I & II were dismissed by this Court on November 21, 2017. See Order, Klayman

I & II, 13-cv-851, 13-cv-881 (D.D.C. Nov. 21, 2017), ECF No. 193 (13-851), ECF No. 138 (13-

881). That decision is currently on appeal before the D.C. Circuit. See Klayman v. Obama, 17-

5281, 17-5282 (D.C. Cir. filed Dec. 26, 2017). Klayman III, similarly, was dismissed by this Court,

see Order, Montgomery v. Comey, 17-cv-1074 (D.D.C. Mar. 5, 2018), ECF No. 48, and is currently

on appeal, see Montgomery v. Comey, 18-5097 (D.C. Cir. filed Apr. 11, 2018).2 Thus,




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  Because Plaintiff did not identify Klayman III in his related case notice, Plaintiff’s argument that
Klayman III is a related case under Local Rule 40.5, see ECF No. 8, is arguably not properly before
the Court. See Local Civ. R. 40.5(b)(2). The Government addresses Plaintiff’s assertions with
respect to Klayman III in an abundance of caution.
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Klayman I & II and Klayman III are not currently “pending on the merits” in this Court. See, e.g.,

Keepseagle v. Glickman, 194 F.R.D. 1, 3 (D.D.C. 2000) (noting that, “except in unusual

circumstances, a case cannot still be pending on the merits in the district court once an appeal has

been properly taken”).

       None of these dismissed cases can be deemed “related” to Plaintiff’s case because none

involved the “same parties” and related to the “same subject matter” as Plaintiff’s case. Local Civ.

R. 40.5(a)(4). The Plaintiff here, Jerome Corsi, was not a party to Klayman I or Klayman II, and

none of the plaintiffs in Klayman I (Larry Klayman, Charles Strange, and Mary Ann Strange) or

Klayman II (Larry Klayman, Michael Ferrari, Charles Strange, Matt Garrison, Jeffrey James Little,

J.J. Little & Associates, P.C., and Mary Ann Strange) is a party to this case. Klayman III likewise

did not involve the same parties as this case—Jerome Corsi was not a party to Klayman III, and

neither of the plaintiffs in Klayman III (Larry Klayman and Dennis Montgomery), is a party to this

case. In addition, the primary defendant in this case, the Special Counsel, was not a defendant in

either Klayman I & II or Klayman III. Moreover, none of the prior cases identified by Plaintiff

involved a claim alleging improper disclosure of grand jury information, and thus those cases

cannot be said to relate to the same “subject matter” as this case. See generally Montgomery v.

Comey, 300 F. Supp. 3d 158, 162 (D.D.C. 2018) (summarizing Klayman III plaintiffs’ claims);

Klayman v. NSA, 280 F. Supp. 3d 39, 42 (D.D.C. 2017) (summarizing Klayman I & II plaintiffs’

claims); see, e.g., Washington Alliance of Tech. Workers v. U.S. Dep’t of Homeland Sec., 16-cv-

1170, 2016 WL 11184186, at *2 (D.D.C. June 24, 2016) (explaining that “mere similarity between

certain claims does not mean that the case as a whole involves the ‘same subject matter’” and

noting that it was not “an instance where the similarities between cases [were] so pronounced that

the interest in judicial economy bec[ame] paramount” in part because “numerous issues [were]



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unique to one case or the other”). Accordingly, neither Klayman I & II nor Klayman III can be

deemed related to this matter under Local Rule 40.5.

       In addition, even if Klayman I & II or Klayman III were currently “pending on the merits”

in this Court, there would be no ground to deem this case related under Local Rule 40.5. Plaintiff

alleges (1) that the Special Counsel’s Office disclosed grand jury information in violation of Rule

6(e) of the Federal Rules of Criminal Procedure, Complaint, ECF No. 1, ¶¶ 21-25, 36-40, and

(2) that he was subjected to unlawful government surveillance in violation of the U.S.

Constitution’s Fourth Amendment, id. ¶¶ 26-35. The factual allegations supporting Plaintiff’s

putative Fourth Amendment claim consist of three conclusory sentences: First, Plaintiff alleges

that “Defendants Mueller, DOJ, NSA, CIA, and FBI have engaged in ongoing illegal,

unconstitutional surveillance on Plaintiff Corsi, in violation of the Fourth Amendment and the

USA FREEDOM Act as well targeted ‘PRISM’ collection under Section 702 of the Foreign

Sovereignties Immunity Act [sic] at the direction of Defendant Mueller.” Id. ¶ 26. Second, Plaintiff

alleges that the purported surveillance “is being conducted in conjunction with Defendant

Mueller’s investigation, at the direction of Mueller and his . . . staff” in order to “try to uncover

information” that can be used to coerce false testimony from Plaintiff. Id. ¶ 27. Third, Plaintiff

alleges that he, “as an investigative journalist, routinely speaks with persons located overseas in

regions that are surveilled under PRISM.” Id. ¶ 28. Plaintiff does not allege when the purported

surveillance occurred, the manner in which it was conducted, what communications or information

were purportedly collected, or any other facts that would allow the Court to deem the claim non-

frivolous.

       The general thematic overlap between the Klayman cases and Plaintiff’s spare putative

Fourth Amendment claim is not sufficient to establish that the cases “involve common issues of



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fact,” let alone that they “grow out of the same event or transaction.” Cf. Dale, 121 F. Supp. 2d at

37 (agreeing that cases were not all related merely because they all involved the denial of a Privacy

Act request). Indeed, Plaintiff’s putative Fourth Amendment claim includes no specific factual

allegations whatsoever, and appears to be nothing more than an effort to bootstrap this matter to

Mr. Klayman’s earlier cases for purposes of Local Rule 40.5.

       To deem a case related under Local Rule 40.5(a)(3), courts demand much more. For

example, Klayman I & II and Klayman III involved a common plaintiff and defendants, and the

plaintiffs in both cases exclusively challenged alleged government surveillance activities: The

Klayman I & II plaintiffs primarily challenged the NSA’s former Section 215 bulk telephony

metadata program, and secondarily sought a range of relief related to two other NSA intelligence

programs—the discontinued program of bulk Internet metadata collection, carried out under

FISA’s “pen-trap” provision; and targeted “PRISM” collection conducted under FISA Section

702. See Klayman v. NSA, 280 F. Supp. 3d at 43-46. The plaintiffs in Klayman III, similarly,

alleged that the government had conducted unlawful surveillance “in numerous ways, including

but not limited to, bulk telephony metadata collection similar to the now ‘discontinued’ Section

215 of the USA PATRIOT ACT as well as targeted ‘PRISM’ collection under Section 702.”

Montgomery v. Comey, 300 F. Supp. 3d at 163 (quoting complaint). Further, while this Court

concluded that Klayman III was sufficiently related to Klayman I & II for the Court to retain

jurisdiction, it described that conclusion as a “close call.” Minute Order, Montgomery v. Comey,

17-1074 (D.D.C. June 27, 2017). Here, the connection between the Plaintiff’s claims and the

claims of the plaintiffs in Klayman I & II and Klayman III is substantially more tenuous than the

relationship between the claims in the two Klayman cases that the Court found just barely met the

Local Rule 40.5 standard. Thus, even if Klayman I & II or Klayman III were still pending on the



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merits in this Court, there would be no ground to deem this matter a related case under Local Rule

40.5(a)(3).

        The Court, litigants, and the public all have an interest in the proper administration of case

assignment rules. As the Court recognized in its order to show cause, “[t]he random assignment

process ‘guarantees fair and equal distribution of cases to all judges, avoids public perception or

appearance of favoritism in assignments, and reduces opportunities for judge-shopping.’” ECF No.

4 at 1-2 (quoting Tripp v. Exec. Office of President, 196 F.R.D. 201, 202 (D.D.C. 2000)). Plaintiff

has not carried his burden of showing under Rule 40.5 that this case meets the requirements for

exemption from random assignment. For the foregoing reasons, the Government objects to

Plaintiff’s related case notice.

Dated: December 31, 2018                       Respectfully submitted,

                                               JAMES J. GILLIGAN
                                               Acting Branch Director

                                               /s/ Elizabeth Tulis
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                                               Central Intelligence Agency, and United States
                                               Department of Justice




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 31, 2018, I will electronically file the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of electronic

filing to the parties.


                                          /s/ Elizabeth Tulis
                                          ELIZABETH TULIS
